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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 ROBERT MURPHY,
                 Plaintiff,

                                                          1:18-cv-1478 (JDB)
          v.

 THE DISTRICT OF COLUMBIA,

                 Defendant.


               REPLY IN SUPPORT OF THE DISTRICT OF COLUMBIA’S
                       MOTION FOR SUMMARY JUDGMENT

                                        INTRODUCTION

       The District of Columbia (the District) moved for summary judgment on Plaintiff’s

remaining claims under the ADA, FMLA, DCFMLA, DCHRA, and Title VII. Def.’s Mot.

Summ. J. [44]. Plaintiff opposes the motion on two grounds. First, Plaintiff argues that his

claims relating to the District’s alleged failure to accommodate him or to provide leave to him

should survive summary judgment because the District took no action regarding his April 2,

2015 FMLA leave request. Pl.’s Opp’n to Def.’s Mot. Summ. J. (Pl.’s Opp’n) at 4-7 [45].

Plaintiff next argues that his retaliation claims regarding his termination survive because the

District violated its own policies by failing to investigate Walker’s complaint and because Ja’net

Sheen engaged in protected activity prior to Plaintiff’s termination, and that even if she did not,

Plaintiff’s claim survives under the “perception theory.” Pl.’s Opp’n at 7-10. For the reasons

explained below, Plaintiff’s arguments are legally and factually infirm. The Court should

therefore grant summary judgment in the District’s favor.
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                                            ARGUMENT

I.       Plaintiff’s ADA Claim for Failure to Accommodate and His Interference Claims
         Under the FMLA and DCFMLA Arising from His April 2, 2015 Request for Leave
         Fail Because He Did Not Timely Submit the Required Medical Certification.

         The record establishes that Plaintiff’s physician did not submit the required medical

  certification to support Plaintiff’s April 2, 2015 request for FMLA leave until July 1, 2015, after

  Plaintiff’s employment had been terminated. Therefore, no reasonable jury could find that the

  District failed to provide Plaintiff with a reasonable accommodation or interfered with his rights

  under the FMLA and DCFMLA.

         Plaintiff’s ADA failure-to-accommodate claim and interference claims under the FMLA

  and the DCFMLA fail because he did not provide the required medical documentation

  supporting his request for leave until after he received the notice of his termination. An

  employer may “require an employee to submit certification to substantiate that the leave is due to

  the serious health condition of the employee.” 29 C.F.R. § 825.100; see also D.C. Code § 32-

  504 (a) (“An employer may require that a request for . . . medical leave . . . be supported by a

  certification issued by the health care provider of the employee or family member.”). Although

  Plaintiff submitted his leave request on April 2, 2015, his doctor did not submit the required

  medical certification supporting Plaintiff’s request until July 1, 2015. Def.’s Statement of

  Undisputed Material Facts (Def.’s SOF) ¶¶ 3-4; see 29 C.F.R. § 825.100; D.C. Code § 32-504

  (a). Plaintiff points to nothing in the record to show that he submitted the required medical

  certification at any time before July 1, 2015, nor does he point to any evidence that he was

  denied leave in the meantime; instead, he constructs a false dichotomy between the April 2, 2015

  request and the paperwork provided by his doctor on July 1, 2015, claiming that the medical

  certification eventually supplied on July 1, 2015, was for his June 22, 2015 FMLA request,

  which is no longer a live claim in this case. Pl.’s Opp’n at 5. And while Plaintiff claims it is

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   disputed whether Ja’net Sheen submitted a medical certification accompanying the April 2, 2015

   request, Plaintiff points to no evidence in the record supporting that a medical certification was

   provided to the District prior to July 1, 2015. And Plaintiff offers no evidence that, where he

   concedes that he did not submit the required medical certification until July 1, 2015, that there

   was any “unreasonable delay” in acting on his FMLA request. Pl.’s Opp’n at 5; see Marks v.

   Washington Wholesale Liquor Co. LLC, 253 F. Supp. 3d 312, 324 (D.D.C. 2017) (“A relatively

   short delay of a few weeks (or even a few months) in approving a request typically does not

   support [a failure-to-accommodate] claim.”). Thus, Plaintiff fails to establish a genuinely

   disputed fact regarding the April 2, 2015 request for an accommodation. See Fed. R. Civ. P.

   56(c)(1) (requiring that parties support statements of fact or disputed facts with evidence).

          The only evidence in the record is that Plaintiff submitted his portion of the FMLA leave

   request on April 2, 2015, Def.’s Mot. Summ. J. Ex. 2 [44-3], and submitted his doctor’s portion

   three months later on July 1, 2015, Def.’s Mot. Summ. J. Ex. 3 [44-4]. Consequently, the Court

   should grant summary judgment to the District on Plaintiff’s failure to accommodate and

   interference claims. See Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986) (holding that if a

   party, who bears the burden of proof, fails to bring forward evidence in support of their claim,

   then summary judgment against that party is appropriate).

II.       Plaintiff’s Retaliation Claims Under Title VII, the DCHRA, and the FMLA Fail.

          The District terminated Plaintiff for a legitimate, nondiscriminatory reason—he made

   inappropriate comments to Angela Walker and had previously been disciplined for using

   inappropriate language around inmates. In his opposition, Plaintiff argues that the District

   conducted no investigation into Walker’s claims and that Plaintiff was instead terminated

   because Sheen complained about Pettiford, Plaintiff’s supervisor. Pl.’s Opp’n at 7-10 (citing

   Pl.’s Ex. 2). The policy that Plaintiff cites, however, does not limit the District from taking
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prompt action to discipline a manager. Thus, there was no irregularity in Plaintiff’s termination

and Sheen’s conduct was not temporally proximate to Plaintiff’s termination and cannot,

therefore, support an inference of retaliation, nor does the “perception theory” save Plaintiff’s

Title VII retaliation claim.

       As an initial matter, the District notes that Plaintiff has dropped from his case any

assertion that he was terminated for his April 2, 2015 leave request in violation of the FMLA and

instead argues only that his termination was in retaliation for Sheen’s protected activity. See

Pl.’s Opp’n at 7-10 (addressing only Plaintiff’s “retaliation claims under Title VII and DCHRA).

Accordingly, the Court should treat the District’s arguments on the FMLA retaliation claim as

conceded. See Evans v. Holder, 618 F. Supp. 2d 1, 13 (D.D.C. 2009) (“It is well-settled that

where a non-moving party fails to oppose arguments set forth in a motion for summary

judgment, courts may treat such arguments as conceded.”).1

       Plaintiff criticizes Pettiford’s investigation of Walker’s allegations in an attempt to show

pretext, but the undisputed facts defeat his insinuations. Pettiford’s June 11, 2015 Request for

Termination, attached as Defendant’s Exhibit 1, describes the investigation that Pettiford and

then-Deputy Warden Lennard Johnson conducted on June 11, 2015. Def.’ Ex. 1; Def.’s Ex. 9 at

5 [44-10] (noting that Walker spoke with Major Pettiford and Deputy Warden Johnson). Major

Pettiford received a report from Sergeant Sherry Savoy that Walker, who had left for the day,

complained of inappropriate conduct by Plaintiff. Def.’s Ex. 1 at 1 [44-2]. Major Pettiford

immediately began his investigation by recalling Walker to the D.C. Jail for an interview. Id. at

2. Pettiford interviewed Walker and had her complete a written statement. Ex. 9 at 5. He also



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         For the same reason, the Court should also treat as conceded the District’s argument that
Plaintiff’s DCHRA retaliation claim is barred by his election of remedies, which Plaintiff also
fails to address in his opposition. See Pl.’s Opp’n; Def.’s Mot. Summ. J. at 10-11.
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had Sergeant Savoy, to whom Walker initially complained, complete a written statement. Ex. 11

at 11-13. Pettiford collected and reviewed the logbook pages, which supported Walker’s

statement. Def.’s Ex. 4 at 1-2; Ex. 1 at 2 (noting Walker logged the event that precipitated her

conversation with Plaintiff in the logbook). Further, Pettiford reviewed and considered

Plaintiff’s May 12, 2015 discipline. Ex. 1 at 2. Pettiford compiled all of these materials in

Plaintiff’s file. Ex. 11 (excerpt from Plaintiff’s Major’s Office File).

       Plaintiff takes the position that Pettiford’s investigation was insufficient because the

District’s anti-discrimination policies require the Department of Corrections’ EEO officer to

investigate. Pl.’s Opp’n at 7 (citing Pl.’s Ex. 2 at 9-10 [45-1]). But nothing in the policy

prohibits the District from acting to immediately end a hostile work environment. See Pl.’s Ex. 2

at 9-10. The policy, instead, provides procedures to apprise employees of the importance of

reporting conduct and to whom to report inappropriate or harassing conduct. Id. And the policy

is intended to apply where the employees contest whether harassment has occurred. Id. Here,

Plaintiff admits to engaging in the harassing conduct. Pl.’s Resp. to Def.’s SOF ¶¶ 16-17 [45]

(admitting that Plaintiff asked Walker whether she was “a dom or a femme”). What is more, the

request for termination was based not only on Plaintiff’s inappropriate sexual comments but also

on Plaintiff’s comments regarding the deputy warden and Plaintiff’s past discipline. Ex. 1.

       Next, Sheen’s alleged protected activity is too remote in time to support an inference of

retaliatory intent. To support an inference of retaliation, the temporal proximity between the

protected activity and the adverse action must be “very close.” Clark Cnty. Sch. Dist. v.

Breeden, 532 U.S. 268, 273 (2001). Plaintiff notes that the lawsuit against Pettiford was filed in

November 2013, 19 months before Pettiford recommended Plaintiff’s termination. See Pl.’s

Opp’n at 7. Moreover, Sheen was not a party to that lawsuit. Pl.’s Ex. 1 at 1. In fact, the alleged



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protected activity that Sheen engaged in occurred in 2008—seven years before Plaintiff’s

termination. Pl.’s Ex. 1 at ¶ 140; Pl.’s Opp’n at 10. And seven years of delay between Sheen’s

protected activity and Plaintiff’s termination is far too large a gap to support any inference of

causality. See Pueschel v. Chao, 955 F.3d 163, 167 (D.C. Cir. 2020) (“This court, too, has often

analyzed temporal proximity in terms of months—not years.”), cert. denied, 141 S. Ct. 560

(2020).

          And even under the “perception theory” that Plaintiff presses, he provides no evidence of

Pettiford’s “subjective reasons for terminating Plaintiff.” Pl.’s Opp’n at 10. Thus, under

Plaintiff’s own articulated standard, his claim cannot stand. Instead, the facts in the record

demonstrate that Pettiford had a legitimate, non-retaliatory reason for recommending Plaintiff’s

termination—his harassment of Walker and of inmates. Nor does Plaintiff point to any similarly

situated employees who were treated differently. The Court should, therefore, grant summary

judgment in the District’s favor. See Scott v. Harris, 550 U.S. 372, 380 (2007) (“As we have

emphasized, ‘when the moving party has carried its burden under Rule 56(c), its opponent must

do more than simply show that there is some metaphysical doubt as to the material facts . . . .’”)

(quoting Matsushita Elec. Industrial Co. v. Zenith Radio Corp., 475 U.S. 574, 586–587 (1986)).

                                          CONCLUSION

          For these reasons and for the reasons set forth in the District’s moving memorandum of

points and authorities, the Court should grant summary judgment in the District’s favor.

Date: November 23, 2021                        Respectfully submitted,

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